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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
HEALTH CALL OF DETROIT, INC.,
(Jaden Sears),
                                                 Case No.: 2:16-cv-11345
         Plaintiff,
                                                 Hon. Bernard A. Friedman
v.
                                                 Magistrate Judge:
FARMERS INSURANCE EXCHANGE,
                                                 Anthony P. Patti
         Defendant.


                             DEFENDANT FARMERS’
                      NOTICE OF SUPPLEMENTAL AUTHORITY


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         Now comes the Defendant, Farmers Insurance Exchange, by and through its

attorneys, Hewson & Van Hellemont, P.C., and it respectfully submits the attached

decision from the Michigan Court of Appeals that was just recently released for

publication on May 8, 2018, as supplemental authority for this Honorable Court’s

review in deciding upon Farmers’ April 3, 2018, motion for summary judgment. A

copy of the slip opinion is being included with this filing, and the case is also

available online at Jawad A. Shah, M.D., PC v. State Farm Mut. Auto. Ins. Co., No.

340370, 2018 WL 2121787 (Mich. Ct. App. May 8, 2018).



                                                        Respectfully submitted,

                                                        HEWSON & VAN HELLEMONT, P.C.

                                                        By:       /s/ Grant O. Jaskulski
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                                                                  Sydney K. Terenzi (P80223)
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Dated: May 10, 2018                                               (248) 968-5200

                                                 PROOF OF SERVICE

                     The undersigned certifies that the foregoing instrument was served upon all
                     parties to the above cause to each of the attorneys of record at their respective
                     addresses on May 10, 2018.

                             U.S. Mail & E-Mail                             Fax to deponent
                             Hand Delivered                                 Overnight Carrier
                             Certified Mail                                 E-File & Serve

                                                /s/ Michelle L. Alexander
                                                  Michelle L. Alexander




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